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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
AAS/RMP                                            271 Cadman Plaza East
F. #2021R00600                                     Brooklyn, New York 11201




                                                   October 3, 2024

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By Email and ECF


                Re:   United States v. Sun, et. al.
                      Criminal Docket No. 24-CR-346 (BMC)

Dear Counsel:

               Enclosed please find the below-listed materials produced in accordance with Rule
16 of the Federal Rules of Criminal Procedure, which are contained on hard drives produced
separately to counsel for the respective defendants. The government renews its request for
reciprocal discovery from the defendants.

 Bates No.                                      Description of Item

 EDNY_009878                                    Extraction of Sandisk Cruzer 8 GB USB
                                                Flash Drive seized from the business
                                                identified in the Indictment as the “Wine
                                                Store”
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 Bates No.                                      Description of Item

 EDNY_009879                                    Extraction of Silver Dell XPY Laptop seized
                                                from the business identified in the Indictment
                                                as the “Wine Store”

 EDNY_009880                                    Records from Shopify Inc.



                                                  Very truly yours,

                                                  BREON PEACE
                                                  United States Attorney

                                          By:      /s/ Alexander A. Solomon
                                                  Alexander A. Solomon
                                                  Robert M. Pollack
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

cc:   Clerk of the Court (BMC) (by ECF)




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